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       (@10<=!0@B8<4H=A4&0<274H!0@8070D4H,=8:086C4@=0%=A0:8<007:86=:=@4A
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     =A4 &0<274H !0@80 70D4H ,=8:0 86C4@=0 %=A0:8<0 07:86 =:=@4A <3@4EA A@04:

     706=::0<C0<8B0:0<=B74$0@9@0<030'4<0<BA=@J:08;0<BAE8::0<374@41G3=

     AC1;8B B74 5=::=E8<6 3=2C;4<BA B= 14 CA43 0B B74 2=<58@;0B8=< 740@8<6 =< B74 01=D4

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      20>B8=<430<30A834<B858438< 41B=@KA%4?C4ABA5=@C38280:"=B824-                              .0<3
      B74 42:0@0B8=<A 0<3 F7818BA 58:43 1G B74 41B=@ 8< AC>>=@B =5 >:0< 2=<58@;0B8=< -

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                         &B0@5:8<64@ 0A !0<064@ =5 CBC@4 @=EB7                    0<3 4= &B0@5:8<64@ 0A
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                          @0<B443@42=@343!0G                      5=@$@=>4@BG$"                            
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                           $@=>4@B84A     
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        Case 2:18-bk-15559-NB                     Doc 222 Filed 03/04/21 Entered 03/04/21 16:19:46                                      Desc
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
   27489 Agoura Rd., Ste. 102, Agoura Hills, CA 91301


A true and correct copy of the foregoing document entitled (specify): __________________________________________
 CLAIMANT’S EXHIBITS
________________________________________________________________________________________________
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will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
  0304/2021
_______________,     I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
 Byron Z Moldo - bmoldo@ecjlaw.com, Robert P Goe - kmurphy@goeforlaw.com, Jeffrey S Shinbrot -
 jeffrey@shinbrotfirm.com, United States Trustee (LA) - ustpregion16.la.ecf@usdoj.gov, Dare Law
  - dare.law@usdoj.gov


                                                                                            Service information continued on attached page
,
2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
03/04/2021                    Shauna Wilcox
 Date                           Printed Name                                                    Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
